     Case 2:10-cr-00557-LDG-RJJ           Document 129         Filed 03/01/12      Page 1 of 3



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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )          2:10-CR-557-LDG (RJJ)
                                                         )
11    SERGIO ARELLANO, JR.                               )
                                                         )
12                           Defendant.                  )

13                            AMENDED FINAL ORDER OF FORFEITURE

14            On August 25, 2011, the United States District Court for the District of Nevada entered a

15    Preliminary Order of Forfeiture as to SERGIO ARELLANO, JR. pursuant to Fed. R. Crim. P.

16    32.2(b)(1) and (2); Title 21, United States Code, Section 853(a)(1) and (a)(2); Title 21, United States

17    Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); and Title 18, United

18    States Code, Section and 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section

19    2461(c), based upon the plea of guilty by defendant SERGIO ARELLANO, JR. to a criminal offense,

20    forfeiting specific property alleged in the Superseding Criminal Information and agreed to in the Plea

21    Memorandum and shown by the United States to have the requisite nexus to the offense to which

22    defendant SERGIO ARELLANO, JR. pled guilty. Docket #98, #100, #101, #104.

23            On January 19, 2012, the United States District Court for the District of Nevada entered a

24    Final Order of Forfeiture as to Defendant SERGIO ARELLANO, JR. pursuant to Fed. R. Crim. P.

25    32.2(b)(1) and (2); Title 21, United States Code, Section 853(a)(1) and (a)(2); Title 21, United States

26    Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); and Title 18, United
     Case 2:10-cr-00557-LDG-RJJ            Document 129         Filed 03/01/12    Page 2 of 3




 1    States Code, Section and 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section

 2    2461(c), forfeiting property of the defendant SERGIO ARELLANO, JR. to the United States. #116.

 3            This Court finds the United States of America published the notice of the forfeiture as to

 4    Defendant SERGIO ARELLANO, JR. in accordance with the law via the official government internet

 5    forfeiture site, www.forfeiture.gov, consecutively from November 21, 2011, through December 20,

 6    2011, notifying all parties of their right to petition the Court. #108.

 7            On November 23, 2011, RANDALL JAMES CHAMBERS was served by regular mail and

 8    certified mail, return receipt requested, with a copy of the Preliminary Order of Forfeiture and the

 9    Notice. #120, p. 15-43.

10            On February 14, 2012, LAUREN S. MILLER was served by personal service, with a copy

11    of the Preliminary Order of Forfeiture and the Notice. #120, p. 57-69

12            On February 15, 2012, the Petition, Stipulation for Return of Property and Order was filed.

13    #121. On February 17, 2012, the Court entered the Order granting the Petition, Stipulation for Return

14    of Property. #122.

15            This Court finds no other petitions were filed herein by or on behalf of any person or entity

16    and the time for filing such petitions and claims has expired.

17            This Court finds no petitions are pending with regard to the assets named herein and the time

18    for presenting such petitions has expired.

19            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

20    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

21    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

22    32.2(c)(2);Title 21, United States Code, Section 853(a)(1) and (a)(2); Title 21, United States Code,

23    Section 881(a)(11) and Title 28, United States Code, Section 2461(c); Title 18, United States Code,

24    Section and 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c); and Title

25    21, United States Code, Section 853(n)(7) and shall be disposed of according to law:

26    ...




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     Case 2:10-cr-00557-LDG-RJJ           Document 129           Filed 03/01/12   Page 3 of 3




 1            1.     Remington Model 870 Marine Magnum shotgun, serial number AB537083M; and

 2            2.     any and all ammunition.

 3            The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 4    certified copies to the United States Attorney’s Office.

 5            DATED this _________ day of _______________, 2012.

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                                                    UNITED STATES DISTRICT JUDGE
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